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              IN THE UNITED STATES DISTRICT COURT FOR        U.S.U!STIC1COURT
                  THE SOUTHERN DISTRICT OF GEORGIA                 SA\'AAH WV.
                         SAVANNAH DIVISION
                                                                       SEP -2 2015
JOE PERRY GARRETT,                     )
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       Petitioner,                                                 SGI S F G
                                                                   '       A~~  ~
V.                                          CASE NOS. CV412-237
                                                      CR4 99-133
UNITED STATES OF AMERICA,              )
       Respondent.


                                   ORDER

       Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 7), to which objections have been

filed (Doc. 20)      .   1   After a careful de novo review of the

record, the Court concludes that Petitioner's objections

are without merit. Accordingly, the Report and

Recommendation is ADOPTED as the Court's opinion in this

case with the following amendment. As a result,

Petitioner's 28 U.S.C. § 2255 Petition is DENIED. The Clerk

of Court is DIRECTED to close this case.

        In his objections, Petitioner argues that he was

diligent in attempting to vacate his prior state court

conviction because he hired a habeas attorney within eight

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  Petitioner's Motion for Leave to Supplement (Doc. 10) and
Motion to Supplement (Doc. 11) are          GRANTED,  while
Petitioner's Motion to Take Judicial Notice (Doc. 12) is
DISMISSED AS MOOT.   The Court has considered all these
filing when reviewing the Magistrate Judge's Report and
Recommendation.
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months of this Court entering judgment in his federal

criminal case. (Doc. 9 at 4-6.) Additionally, Petitioner

maintains that he prompted habeas counsel to file a

petition on his behalf prior to the expiration of the

federal limitations period. (Id.) Finally, Petitioner

contends that the conditions of his confinement in federal

prison contributed to the 838 days it took him to

ultimately file his state petition. (Id. at 3.)

     However, the Court agrees with the Magistrate Judge

that Petitioner failed to exercise reasonable diligence.

Even assuming the truth of Petitioner's allegations, his

exercise of diligence is not reasonable in light of the 838

days it took for him to file his state habeas petition. The

Court understands that Petitioner was not required to show

"maximum feasible diligence," see Holland v. Florida, 560

U.S. 631, 653 (2010) (quoting Starns v. Andrews, 524 F.3d

612, 618 (5th Cir. 2008)), but the exercise of reasonable

diligence in this case would have resulted in Petitioner

filing his state habeas petition in less than 838 days.

     Petitioner also contends that the vacatur of two

predicate offenses used to enhance his sentence to life

imprisonment renders him actually innocent of that

sentence. (Doc. 9 at 7-10.) Petitioner reasons that this

innocence excuses his failure to exercise diligence in


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seeking vacatur of the predicate offenses. (Id.) In his

supplemental briefing, Petitioner cites dicta from the

Eleventh Circuit Court of Appeal's decision in Spencer v.

United States, 773 F.3d 1132 (2014) (en banc), for the

proposition that the vacatur of prior convictions used to

enhance a sentence results in a fundamental miscarriage of

justice to which time limitations are inapplicable. (Doc.

11 at 3-4.)

     In Spencer, the Eleventh Circuit reiterated that "[a]

prisoner may challenge a sentencing error as a 'fundamental

defect' on collateral review when he can prove that he is

either actually innocent of his crime or that a prior

conviction used to enhance his sentence has been vacated."

773 F.3d at 1139. However, the Eleventh Circuit's ruling in

Spencer does not absolve a petitioner from the exercise of

diligence in seeking vacatur of his prior convictions. The

petitioner's diligence in seeking vacatur was simply not an

issue in Spencer. Johnson v. United States, 544 U.S. 295

(2005), and Stewart v. United States, 646 F.3d 856 (11th

Cir. 2011)—both cases relied on in Spencer—establish that a

petitioner may be entitled to bring an otherwise barred

habeas petition based on the vacatur of prior state court

convictions used to enhance a federal sentence only if the




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petitioner exercised diligence in seeking the vacatur. 2

Unfortunately for Petitioner in this case, Spencer did

nothing to remove this requirement. As a result, Petitioner

is not entitled to habeas relief on this ground because he

failed to exercise the requisite diligence in vacating his

state court convictions.

      SO ORDERED this         1 day of September 2015.



                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA




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  Intuitively, of course, this makes perfect sense. There
would be little point of a diligence requirement in cases
where petitioners argue that they are actually innocent of
a sentence based on prior vacated convictions if the mere
allegation of actual innocence removed all time
limitations. If such were the case, diligence would cease
to be a requirement at all.

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